   Case 2:05-cv-04182-SRD-JCW Document 21311-1 Filed 09/28/15 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES          *                     CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION               *
                                      *
PERTAINS TO:                          *                     SECTION “K” (2)
                                      *
Allen et al v. State Farm Fire and    *                     Judge Stanwood R. Duval, Jr.
Casualty Company, Case Number 07-5111 *
Judy Jones                            *
*************************************

                          MEMORANDUM IN SUPPORT OF
                         MOTION TO ENFORCE SETTLEMENT


MAY IT PLEASE THE COURT:

       On October 8, 2008, Judy Jones entered into a Confidential Receipt and Release

Agreement (hereinafter “Agreement”) with State Farm Fire and Casualty Company (hereinafter

“State Farm”) to settle her claim for damages related to Hurricane Katrina for the following

settlement amounts: $14,000.00 for “Building” Coverage; $3,000.00 for “Personal Property”

Coverage; and $4,000.00 for “Additional Living Expense” Coverage. Bruno & Bruno, LLP

(hereinafter “Bruno”) disbursed the uncontested $7,000.00 to Judy Jones less attorneys’ fees.

Bruno was unable to disburse the proceeds of the $14,000.00 check to Judy Jones as the Office

of Community Development, Division of Administration for the State of LA (“Road Home”)

was named as an additional payee. In order for the Road Home to make a determination

regarding any interest it may have in the settlement proceeds, Bruno submitted a “Request for

Approval.” During the pendency of the Road Home review process, the $14,000.00 check

expired. After the Road Home concluded that it did have an interest in a portion of the proceeds,

Bruno requested reissue of Judy Jones’ settlement payment through State Farm. Despite repeated
   Case 2:05-cv-04182-SRD-JCW Document 21311-1 Filed 09/28/15 Page 2 of 3




requests, State Farm refused to reissue the check. To date, State Farm has not provided affiant

with the agreed upon proceeds from the October 8, 2008 settlement agreement.

       Judy Jones learned via letter from the State of Texas that State Farm deposited the

applicable settlement proceeds in the State of Texas’s Unclaimed Property Fund. As such, State

Farm has failed to honor the October 8, 2008 Settlement Agreement and its obligations therein.

       Furthermore, State Farm has failed to honor Bruno’s lien – an interest in the claim

statutorily granted by LSA–R.S. 37:218 which gives Bruno a special privilege to attorneys for

the amount of their professional fees on any recovery obtained by settlement. State Farm had

notice of Bruno’s lien, but failed to protect Bruno’s interest in the settlement proceeds.

       Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes that

this Court will have Defendant, State Farm, honor the terms, conditions, and obligations set forth

by their own counsel in the “Release,” executed by Judy Jones on October 8, 2008. Furthermore,

Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes that Bruno can

satisfy its contractual obligation to tender the amount(s) due pursuant to the settlement

agreement executed in conjunction with the underlying litigation and agreed upon by both Client

and Bruno on August 27, 2006, which is evidenced by the contract attached as Exhibit “A.”

       State Farm and Judy Jones are hereby notified of Bruno’s intent to seek this Honorable

Court’s leave to file its’ Motion to Enforce Settlement.

                                              Respectfully submitted:

                                              /s/ Melissa DeBarbieris
                                              JOSEPH M. BRUNO (NO.3604)
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                                                 2
   Case 2:05-cv-04182-SRD-JCW Document 21311-1 Filed 09/28/15 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing upon all counsel of

record by placing same in the United States mail, properly addressed and with first-class postage,

or by facsimile or other electronic transmission this 28th day of September, 2015.


                                                     /s/ Melissa DeBarbieris
                                                     Melissa DeBarbieris




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